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16                  UNITED STATES DISTRICT COURT
               IN THE NORTHERN DISTRICT OF CALIFORNIA
17
18   JARRON HELBOCK,                      Case No.: 3:20-cv-09500-WHA
19
                Plaintiff,                STIPULATION OF DISMISSAL
20                                        WITH PREJUDICE
21        v.
22
23   FIRST NATIONAL BANK OF
24
     OMAHA,

25              Defendant.
26
27
28

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 1         Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Jarron Helbock
 2   (“Plaintiff”) and Defendant First National Bank of Omaha, by and through
 3
     undersigned counsel, hereby stipulate that this action and all claims asserted
 4
 5   therein be dismissed with prejudice.
 6
                                     RESPECTFULLY SUBMITTED,
 7
 8   DATED: January 31, 2022         By: /s/ Youssef H. Hammoud
                                     Youssef H. Hammoud (SBN: 321934)
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20                                   Attorneys for Plaintiff,
21                                   Jarron Helbock
22   DATED: January 31, 2022         By: /s/ Cory J. Rooney
23                                   Cory J. Rooney (SBN: 235838)
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27                                   Attorneys for Defendant,
28                                   First National Bank of Omaha

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             Case 3:20-cv-09500-WHA Document 27 Filed 01/31/22 Page 3 of 3




 1
                            SIGNATURE CERTIFICATION
 2
 3         Pursuant to L.R. 5-1, I hereby attest that concurrence in the filing of this
 4   document has been obtained from each of the other Signatories indicated by a
 5   conformed signature (/s/) within this e-filed document.
 6
 7   Dated: January 31, 2022                         By: /s/ Youssef H. Hammoud
 8                                                   Youssef H. Hammoud
                                                     youssef@pricelawgroup.com
 9
                                                     Attorneys for Plaintiff,
10                                                   Jarron Helbock
11
12
13
14
15                             CERTIFICATE OF SERVICE
16
           I hereby certify that on January 31, 2022, I electronically filed the foregoing
17
18   with the Clerk of the Court using the CM/ECF system, which will send notice of
19
     such filing to all attorneys of record in this matter. Since none of the attorneys of
20
21   record are non-ECF participants, hard copies of the foregoing have not been
22   provided via personal delivery or by postal mail.
23
24
25         PRICE LAW GROUP, APC
           /s/ Roxanne Harris
26
27
28

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